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                 EXHIBIT L

           FILED UNDER SEAL
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                                                                             Exhibit 033-3
                                                Invalidity Claim Chart for U.S. Patent No. 10,779,033 (“the ’033 patent”)


YouTube Remote and YouTube Leanback (“YouTube Remote”), including the YouTube Remote application (“the YT Remote System”) was
described in a printed publication, or in public use, on sale, sold, known in this country, or otherwise available to the public before the priority date of
the ’033 patent. For example, the YouTube Remote was available a no later than November 9, 2010. https://www.eweek.com/it-
management/youtube-remote-comes-to-android-market-for-leanback/ (“Google Nov. 9 launched YouTube Remote to let U.S. users control the
YouTube Leanback application from their Android smartphones…. Available in the Android Market now”). Features of the YouTube Remote would
have been apparent to a person of ordinary skill in the art using the public systems, rendering the systems themselves § 102(a), (b) and (g) prior art.
At least the following documents describe the functionality of the YT Remote System:

     ● [1] https://youtube.googleblog.com/2010/11/control-youtube-on-desktop-or-tv-with.html, By Kuan Yong, Senior Product Manager,
       Nov.09.2010
     ● [2] https://www.youtube.com/watch?v=txIPVu6yngQ, posted Nov 9, 2010
     ● [3] “Remote Screen pairing – implementation”
     ● [4] https://www.youtube.com/watch?v=EGdsOslqG2s, Nov 14, 2010
     ● [5] https://lifehacker.com/remote-control-youtube-on-your-tv-or-computer-from-your-5685752 , Nov 9, 2010
     ● [6] YouTube Lounge Youbiquity Presentation
     ● [7] MDx protocol as of 2011, as evidenced by MDx Protocol v2 (12/21/11 at 8:06am)
     ● [8] US 9,490,998
      [9] https://web.archive.org/web/20111014181427/https://market.android.com/details?id=com.google.android.ytremote
      [10] https://palblog.fxpal.com/?p=4953, Lean back with YouTube and Android by Surendar Chandra, November 11, 2010 (available at
       https://web.archive.org/web/20111106221315/https://palblog.fxpal.com/?p=4953)
      [11] Engadget Article, YouTube Remote app released, controls Leanback on GTV or PC from your Android phone, November 9, 2010

Google also relies on Google source code, both server-side code and device-side code, including any written source code, source code in production,
and released source code, including the exemplary code paths referred to below. Google expressly reserves the right to rely on additional source
code at a later time.1

          1
          Google has made available for inspection and cited in this charts versions of the source code for the YouTube remote that predate the
December 30, 2011 priority date that Sonos identified in its invalidity contentions. Google is also making available for inspection earlier versions of
the code from July 12, 2011, including Version 1 of the LeanBack code and its corresponding application and server code, that predate Sonos’s
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Google identifies the authors, designers and implementers of the documents and source code identified and cited herein as prior inventors for
purposes of Section 102(g), including but not limited to Ramona Bobohalma.

To the extent publicly available, these documents themselves are also each individually prior art under § 102(a), (b) or (e) and § 103 based on their
dates of publication and public availability.

To the extent it is argued the YT Remote System does not disclose any element, that element would be obvious based on the state of the art and/or in
combination with one or more of the references noted in Riders I-K.
To avoid duplication and cumulative excerpts, exemplary quotations and citations are provided. The citations to portions of any reference in this
chart are exemplary only. Google reserves the right to use the entirety of any reference cited in this chart to show that the asserted claims are
anticipated and/or obvious, or to show the state of the art at the relevant time. References to figures should be understood to also refer to any
accompanying text. Additional support can be found elsewhere in the prior art reference, and Google expressly reserves the right to rely on such
other support and passages at a later time. The use of claim terms in the below chart is based on Sonos’ construction of claim terms in its
infringement contentions as understood by Google, as well as the plain and ordinary meaning of the claim terms. This chart should not be construed
as consenting to or agreeing with Sonos’ construction of claim terms. Because discovery is ongoing, Google reserves all rights to amend its
invalidity contentions based on new information produced in discovery.
Google expressly reserves the right to supplement its invalidity contentions, including this chart, to demonstrate that the prior art invalidates the
claims of the ’033 patent.
 Claim 1        Claim 1 Text                                                      YT Remote System
 Portion
 [1Pre]         A computing device comprising:                                    YT Remote System discloses a computing device (e.g. a phone or
                at least one processor;                                           computer) having at least one processor, a non-transitory computer
                a non-transitory computer-readable medium; and                    readable medium; and program instructions stored on the non-
                program instructions stored on the non-transitory computer-       transitory computer-readable medium that, when executed by the at
                readable medium that, when executed by the at least one           least one processor, cause the computing device to perform the
                processor, cause the computing device to perform functions        recited functions.
                comprising:


alleged invention date of July 15, 2011. While Google does not agree that Sonos is entitled to its alleged invention date, to the extent Sonos is
entitled to such date Google may rely upon the same or similar functionality in the earlier source code.
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                                                                              See e.g. [1]: “YouTube Remote creates a virtual connection
                                                                              between your phone and YouTube Leanback. To ‘pair’ your phone
                                                                              with your Leanback screen, simply sign into YouTube Remote on
                                                                              your Android phone, and to YouTube Leanback on your Google
                                                                              TV or computer with the same YouTube account. Just like that,
                                                                              you've connected your powerful multi-touch Android screen with
                                                                              the biggest screen in your home. Once connected, you can use the
                                                                              rich browse and discovery interface on YouTube Remote to find
                                                                              and queue up videos to watch, and send them all to Leanback with
                                                                              a single tap. With YouTube Remote you can play, pause, skip
                                                                              forward and back and even control the sound volume.”
                                                                              See e.g. [5]




                                                                              See also [7] e.g. Sample Session, Remote to Server and Remote to
                                                                              Screen messages
                                                                              See e.g. [8] at 1:39-50:
                                                                              In general, this disclosure is directed to techniques for exchanging
                                                                              information between a networked device. Such as a network-
                                                                              enabled television, and web-enabled device, Such as a remote
                                                                              control, via a network service (e.g., a "cloud service'). In an
                                                                              example, the web-enabled device can transmit control information
                                                                              via the network service to the networked device to control playback
                                                                              of media content (e.g., audio and/or video content) on the
                                                                              networked device. In




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                                                                              another example, the networked device can transmit content
                                                                              information via the network service to the web-enabled device.
                                                                              Such as status information concerning the networked device.
                                                                              See also [8] at 3:14-55:
                                                                              Techniques of this disclosure relate to a network service or "cloud
                                                                              service' that acts as an intermediary between a remote control
                                                                              device and a controlled device. For example, the network service
                                                                              may receive commands from a remote control and transmit the
                                                                              commands to a controlled device. The network service may also
                                                                              receive commands or other information from the controlled device
                                                                              and transmit those commands or other information to the remote
                                                                              control. The remote control may include a remote control
                                                                              application executing on a mobile device. Such as a cellular
                                                                              telephone or a tablet computer. The controlled device may include
                                                                              any Internet-connected device capable of receiving commands,
                                                                              Such as an Internet-connected television, a set top box, a personal
                                                                              video recorder, a gaming console, or other net worked device. In
                                                                              one aspect, the remote control and the controlled device may
                                                                              operate as simple Hypertext Transfer Protocol HTTP clients of the
                                                                              network service. That is, the controlled device does not operate as a
                                                                              server to the remote control. Thus, any HTTP-enabled device may
                                                                              operate as a remote control or as a controlled device. In general, the
                                                                              remote control and the controlled device are configured to both
                                                                              listen for messages from the network service and send messages to
                                                                              the network service. In some examples, the network service
                                                                              controls pairing one or more remote controls and one or more
                                                                              controlled devices, receives information or commands from remote
                                                                              controls and controlled devices, and sends information or
                                                                              commands to remote controls and controlled devices. The network
                                                                              service may direct received information and commands to the
                                                                              appropriate devices based on pairing information maintained by the
                                                                              network service. A remote control may be configured to send a
                                                                              message to a controlled device to perform a task, Such as stopping
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                                                                              playback of media content playing on the controlled devices or
                                                                              changing the media content playing on the controlled devices. To
                                                                              accomplish the task, the remote control first sends a message to the
                                                                              network service. The network service then determines the
                                                                              controlled device that is paired with the remote control and
                                                                              forwards the message to the appropriate controlled device. The
                                                                              controlled device receives the message from the network service
                                                                              and performs the task in response to receiving the message.
                                                                              See e.g. [9]:




                                                                              See for example source code for the Android application before
                                                                              12.30.2011, including for example source code located at

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                                                                                  google3/java/com/google/android/apps/ytlounge/src/com/google/an
                                                                                  droid/
                                                                                  To the extent it is argued that these references do not disclose this
                                                                                  claim element, it would have at least been obvious to combine
                                                                                  these references with the references cited in Riders I-J. Further
                                                                                  discussion of the obviousness of this claim element is provided in
                                                                                  Google’s Invalidity Contentions Cover Pleading.
 [1a]           operating in a first mode in which the computing device is        YT Remote System discloses the computing device (e.g. a phone or
                configured for playback of a remote playback queue provided       computer) operating in a first mode in which the computing device
                by a cloud-based computing system associated with a cloud-        is configured for playback of a remote playback queue (e.g. a
                based media service;                                              YouTube watch-next queue) provided by a cloud-based computing
                                                                                  system (e.g. the MDx server) associated with a cloud-based media
                                                                                  service (e.g. a YouTube content server)
                                                                                  See e.g. [5]




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                                                                              See e.g. [7], the remote (computing device) has a current playlist,
                                                                              saved in the server (a cloud based computing system associated
                                                                              with a cloud based media service):




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                                                                              See e.g. [6]




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                                                                              See e.g. [8] at 4:58-67:
                                                                              FIG. 1 is a block diagram illustrating an example networked
                                                                              environment 10 with a remote control 14 and controlled device 18,
                                                                              in accordance with one aspect of the present disclosure. According
                                                                              to an aspect of the disclosure, remote control 14 communicates
                                                                              with controlled device 18 via network 22 and servers 24A-24N
                                                                              (collectively “servers 24) in network 22. As shown in FIG. 1,
                                                                              according to some examples, remote control 14, controlled device
                                                                              18, and servers 24 may be distinct components (e.g., physically
                                                                              distinct).




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                                                                              See e.g. [8] at 8:54-11:6, and Fig. 3
                                                                              See e.g. [8] at 12:50-65:
                                                                              In some examples, any application of applications 130 executed by
                                                                              processor 132 may require data from one or more of servers, such
                                                                              as servers 24 shown in FIG. 1. Network module 136 is configured
                                                                              to transmit data/requests to and receive data/responses from one or
                                                                              more servers via network. Network module 136 may provide
                                                                              received data to processor 132 for further processing. Network
                                                                              module 136 may support wireless or wired communication, and
                                                                              includes appropriate hardware and software to provide wireless or
                                                                              wired communication. For example, network module 136 may
                                                                              include an antenna, modulators, demodulators, amplifiers, and
                                                                              other circuitry to effectuate communication between controlled
                                                                              device 118 and one or more servers associated with a network.
                                                                              Network module may 100 may communicate with one or more
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                                                                              servers associated with the network according to a network
                                                                              communication protocol, such as, for example, hypertext transfer
                                                                              protocol (HTTP), HTTP secured by transport layer security or
                                                                              secure sockets.
                                                                              See e.g. [9]:




                                                                              See for example source code for the Android application before
                                                                              12.30.2011, including for example source code located in
                                                                              subdirectories YTR2/src/com/google/android/ytremote;



          2
              Throughout, “YTR” refers to google3/java/com/google/android/apps/ytlounge/
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                                                                                  google3/video/youtube/src/web/javascript/library,
                                                                                  google3/java/com/google/net/browserchannel/,
                                                                                  google3/javascript/closure/net/ and
                                                                                  google3/video/youtube/src/web/javascript/library/tv/views/video/.

                                                                                  See also e.g.:
                                                                                  YTR/src/com/google/android/ytremote/backend;
                                                                                  YTR/src/com/google/android/ytremote/backend/station;
                                                                                  YTR/src/com/google/android/ytremote
                                                                                  To the extent it is argued that these references do not disclose this
                                                                                  claim element, it would have at least been obvious to combine
                                                                                  these references with the references cited in Rider I. Further
                                                                                  discussion of the obviousness of this claim element is provided in
                                                                                  Google’s Invalidity Contentions Cover Pleading.
 [1b]           while operating in the first mode, displaying a representation    The YT Remote System discloses while operating in the first mode,
                of one or more playback devices in a media playback system        displaying a representation of one or more playback devices in a
                that are each i) communicatively coupled to the computing         media playback system that are each i) communicatively coupled to
                device over a data network and ii) available to accept playback   the computing device over a data network and ii) available to
                responsibility for the remote playback queue;                     accept playback responsibility for the remote playback queue.
                                                                                  See e.g.[3]




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                                                                              See e.g. [5]:




                                                                              The YT remote identifies devices connected to the same LAN and
                                                                              connected to the same account. See e.g. [4]:




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                                                                              See e.g. [7]:




                                                                              See e.g. [8] at 4:21-57:


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                                                                              Remote controls and controlled devices may be paired using any
                                                                              one of several different techniques. As one example, a user may
                                                                              maintain a user account using the network service, and the remote
                                                                              controls and controlled devices may be associated with the user
                                                                              account. For example, upon connecting to a network service, the
                                                                              remote controls and controlled devices may notify the network
                                                                              service that the remote controls and controlled devices are
                                                                              connected to the network. The network service may, in some
                                                                              examples, determine whether the remote controls and controlled
                                                                              devices are authorized to be associated with the user account. If
                                                                              authorized, the network service initiates a session and assigns the
                                                                              remote controls and controlled devices unique identification
                                                                              numbers. The network service uses the unique identification
                                                                              numbers for pairing during a session. In another example, a user
                                                                              may be presented with a quick response (“OR”) code via the
                                                                              controlled device that the user scans with the remote control (e.g.,
                                                                              using a camera of the remote control). The QR code identifies a
                                                                              user account or previously initiated session maintained by the
                                                                              network Service. Upon Scanning the QR code, the remote control
                                                                              may send a message to the network service indicating that the
                                                                              network service should assign a unique identification number to the
                                                                              remote control and pair the remote control with the user account or
                                                                              session identified by the QR code. In this manner, one or more
                                                                              remote controls may control one or more controlled devices via the
                                                                              network service.
                                                                              Using the network service to transmit and receive messages
                                                                              between a remote control and a controlled device may enable non-
                                                                              traditional devices having rich input and display capabilities to act
                                                                              as a remote control. In addition, by using the network service as an
                                                                              intermediary, the remote control and the controlled device, in
                                                                              various instances, may not need to be connected to the same local
                                                                              area network, nor in physical proximity to each other. The network


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                                                                              service may also enable pairing of a nearly limitless number of
                                                                              remote controls and controlled devices.
                                                                              See e.g. [10]:
                                                                              “The system even works when the user logs into multiple Leanback
                                                                              browsers; remote control operations are seamlessly sent to all
                                                                              browsers.”
                                                                              See e.g. [11]




                                                                              See for example source code for the Android application before
                                                                              12.30.2011, including for example source code located in
                                                                              subdirectories YTR/src/com/google/android/ytremote/adapter,
                                                                              YTTVF3/youtube/, YTTVF/youtube/tv/services,
                                                                              YTTVF/youtube/players/ YTTVF/youtube/tv/components,
                                                                              YTTVF/net/browserchannel/,
                                                                              YTR/src/com/google/android/ytremote/backend/, and
                                                                              google3/video/youtube/src/web/javascript/library/tv/,
                                                                              google3/video/youtube/src/web/javascript/library/www/remote/,



          3
              Throughout, “YTTVF” refers to YTTVFlashLite12282011/google3/flash/actionscript/com/google/
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                                                                                   google3/java/com/google/net/browserchannel/,
                                                                                   google3/javascript/closure/net/
                                                                                   See also e.g.: YTR/src/com/google/android/ytremote/adapter;
                                                                                   YTR/src/com/google/android/ytremote;
                                                                                   YTTVF/youtube/tv/services;
                                                                                   YTR/src/com/google/android/ytremote/backend/station.
                                                                                   To the extent it is argued that these references do not disclose this
                                                                                   claim element, it would have at least been obvious to combine
                                                                                   these references with prior art including the references cited in
                                                                                   Rider J. Further discussion of the obviousness of this claim
                                                                                   element is provided in Google’s Invalidity Contentions Cover
                                                                                   Pleading.
 [1c]           while displaying the representation of the one or more             The YT Remote System discloses while displaying the
                playback devices, receiving user input indicating a selection of   representation of the one or more playback devices, receiving user
                at least one given playback device from the one or more            input indicating a selection of at least one given playback device
                playback devices;                                                  from the one or more playback devices;
                                                                                   See e.g.: [4], selection of the “Connect” icon by the user




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                                                                              See e.g. [8] at 4:21-57:
                                                                              Remote controls and controlled devices may be paired using any
                                                                              one of several different techniques. As one example, a user may
                                                                              maintain a user account using the network service, and the remote
                                                                              controls and controlled devices may be associated with the user
                                                                              account. For example, upon connecting to a network service, the
                                                                              remote controls and controlled devices may notify the network
                                                                              service that the remote controls and controlled devices are
                                                                              connected to the network. The network service may, in some
                                                                              examples, determine whether the remote controls and controlled
                                                                              devices are authorized to be associated with the user account. If
                                                                              authorized, the network service initiates a session and assigns the
                                                                              remote controls and controlled devices unique identification
                                                                              numbers. The network service uses the unique identification
                                                                              numbers for pairing during a session. In another example, a user
                                                                              may be presented with a quick response (“OR”) code via the
                                                                              controlled device that the user scans with the remote control (e.g.,
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                                                                              using a camera of the remote control). The QR code identifies a
                                                                              user account or previously initiated session maintained by the
                                                                              network Service. Upon Scanning the QR code, the remote control
                                                                              may send a message to the network service indicating that the
                                                                              network service should assign a unique identification number to the
                                                                              remote control and pair the remote control with the user account or
                                                                              session identified by the QR code. In this manner, one or more
                                                                              remote controls may control one or more controlled devices via the
                                                                              network service. Using the network service to transmit and receive
                                                                              messages between a remote control and a controlled device may
                                                                              enable non-traditional devices having rich input and display
                                                                              capabilities to act as a remote control. In addition, by using the
                                                                              network service as an intermediary, the remote control and the
                                                                              controlled device, in various instances, may not need to be
                                                                              connected to the same local area network, nor in physical proximity
                                                                              to each other. The network service may also enable pairing of a
                                                                              nearly limitless number of remote controls and controlled devices.
                                                                              See also [8] e.g. at 8:1-59 (Pairing of remote controls with
                                                                              controlled device).
                                                                              See e.g. [10]
                                                                              “The system even works when the user logs into multiple Leanback
                                                                              browsers; remote control operations are seamlessly sent to all
                                                                              browsers.”
                                                                              See e.g. [11]




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                                                                                 See for example source code for the Android application before
                                                                                 12.30.2011, including for example source code located in
                                                                                 subdirectories YTR/src/com/google/android/ytremote/, and
                                                                                 google3/video/youtube/src/web/javascript/library/tv/
                                                                                 See also e.g.:
                                                                                 YTR/src/com/google/android/ytremote/adapter;
                                                                                 YTR/src/com/google/android/ytremote.
                                                                                 To the extent it is argued that these references do not disclose this
                                                                                 claim element, it would have at least been obvious to combine
                                                                                 these references with the references cited in Rider J. Further
                                                                                 discussion of the obviousness of this claim element is provided in
                                                                                 Google’s Invalidity Contentions Cover Pleading.
 [1d]           based on receiving the user input, transmitting an instruction   The YT Remote System discloses based on receiving the user
                for the at least one given playback device to take over          input, transmitting an instruction for the at least one given playback
                responsibility for playback of the remote playback queue from    device to take over responsibility for playback of the remote
                the computing device,                                            playback queue from the computing device;
                                                                                 See e.g.: [4], based on the selection of the “Connect” icon by the
                                                                                 user, the leanback screen takes over responsibility for playback of
                                                                                 the remote playback queue from the computing device:


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                                                                              See also e.g. [2]:




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                                                                              See e.g. [7]:




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                                                                              See e.g. [8] at 4:58-67:
                                                                              FIG. 1 is a block diagram illustrating an example networked
                                                                              environment 10 with a remote control 14 and controlled device 18,
                                                                              in accordance with one aspect of the present disclosure. According
                                                                              to an aspect of the disclosure, remote control 14 communicates
                                                                              with controlled device 18 via network 22 and servers 24A-24N
                                                                              (collectively “servers 24) in network 22. As shown in FIG. 1,
                                                                              according to some examples, remote control 14, controlled device
                                                                              18, and servers 24 may be distinct components (e.g., physically
                                                                              distinct).




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                                                                              See e.g. [9]:




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                                                                              See    for example source code for the Android application before
                                                                              12.30.2011, including for example source code located at
                                                                              YTR/src/com/google/android/ytremote/. See also for example
                                                                              source code located in subdirectories YTR/res/values,
                                                                              YTL4/browserchannel, YTTVF/google/youtube/,
                                                                              YTTVF/net/browserchannel/, and
                                                                              google3/video/youtube/src/web/javascript/library/www/remote/,
                                                                              google3/java/com/google/net/browserchannel/,
                                                                              google3/javascript/closure/net/
                                                                              See also e.g.:

          4
              Throughout, “YTL” refers to google3/java/com/google/youtube/lounge/
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                                                                                   YTR/res/values; YTR/src/com/google/android/ytremote;
                                                                                   YTL/browserchannel.
                                                                                   To the extent it is argued that these references do not disclose this
                                                                                   claim element, it would have at least been obvious to combine
                                                                                   these references with the references cited in Riders I-J. Further
                                                                                   discussion of the obviousness of this claim element is provided in
                                                                                   Google’s Invalidity Contentions Cover Pleading.
 [1e]           wherein the instruction configures the at least one given          The YT Remote System discloses that the instruction configures
                playback device to (i) communicate with the cloud-based            the at least one given playback device to (i) communicate with the
                computing system in order to obtain data identifying a next        cloud-based computing system in order to obtain data identifying a
                one or more media items that are in the remote playback            next one or more media items that are in the remote playback
                queue, (ii) use the obtained data to retrieve at least one media   queue, (ii) use the obtained data to retrieve at least one media item
                item in the remote playback queue from the cloud-based media       in the remote playback queue from the cloud-based media service;
                service; and (iii) play back the retrieved at least one media      and (iii) play back the retrieved at least one media item;
                item;
                                                                                   See e.g. [4], following the instruction from the control device to the
                                                                                   Leanback screen, the Leanback screen communicates with the YT
                                                                                   cloud-based computing system in order to obtain data identify a
                                                                                   next one or more media items in the remote playback queue,
                                                                                   retrieving at least one media item (the OK Go – White Knuckles –
                                                                                   Official Video) in the remote playback queue, and playing it back.




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                                                                              The user’s YT account includes playlists or channels, with videos
                                                                              automatically added to the user’s feed. The playlist or channel
                                                                              comprise multimedia content added to a queue, which is accessed
                                                                              on the leanback screen.
                                                                              “When you search, your results end up in a channel and as soon as
                                                                              you finish playing one video, youtube leanback automatically plays
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                                                                              the rest in sequence” (https://blog.youtube/news-and-
                                                                              events/youtube-leanback-offers-effortless?m=1)

                                                                              “Your feed is personalized to you, based on your youtube
                                                                              preferences … and once one video ends, the next automatically
                                                                              begins” (https://blog.youtube/news-and-events/youtube-leanback-
                                                                              offers-effortless?m=1)

                                                                              See e.g. [7] Remote to Server, Remote to Screen, Screen to Server
                                                                              and Server to Screen:




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                                                                              See e.g. [8] at Fig. 4 and 12:50-65:
                                                                              In some examples, any application of applications 130 executed by
                                                                              processor 132 may require data from one or more of servers, such
                                                                              as servers 24 shown in FIG. 1. Network module 136 is configured
                                                                              to transmit data/requests to and receive data/responses from one or
                                                                              more servers via network. Network module 136 may provide
                                                                              received data to processor 132 for further processing. Network
                                                                              module 136 may support wireless or wired communication, and
                                                                              includes appropriate hardware and software to provide wireless or
                                                                              wired communication. For example, network module 136 may
                                                                              include an antenna, modulators, demodulators, amplifiers, and
                                                                              other circuitry to effectuate communication between controlled
                                                                              device 118 and one or more servers associated with a network.
                                                                              Network module may 100 may communicate with one or more
                                                                              servers associated with the network according to a network
                                                                              communication protocol, such as, for example, hypertext transfer
                                                                              protocol (HTTP), HTTP secured by transport layer security or
                                                                              secure sockets
                                                                              See e.g. [8] at 13:4-15:

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                                                                              Controlled device 118 may be used, in some examples, in
                                                                              conjunction with a remote control, such as remote control 14
                                                                              shown in FIG. 1, remote controls 62 shown in FIG. 2, or remote
                                                                              control 75 shown in FIG. 3. For example, storage device 92 may
                                                                              store application instructions associated with a video application or
                                                                              web browser for displaying video content from the World Wide
                                                                              Web (e.g., YouTube® content, Hulu® content, Netflix® content,
                                                                              etc.). A user may interact with user interface 120 to execute the
                                                                              video or web browser application. Processor 120 then executes th
                                                                              video or web browser application and causes display 124 to display
                                                                              content to the user.
                                                                              See e.g. [9]:




                                                                              See for example source code for the Google MDx server before
                                                                              12.30.2011, including for example server source code located at
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                                                                                google3/java/com/google/youtube/lounge, and receiver source code
                                                                                located at google3/flash/as3/com/google/youtube/ and
                                                                                google3/flash/actionscript/com/google/ or
                                                                                google3/video/youtube/src/web/javascript/library/tv,
                                                                                google3/video/youtube/src/web/javascript/library/www/remote/
                                                                                and servlets located at google3/video/youtube/src/python/. See also
                                                                                for example source code located in subdirectories
                                                                                YTTV5/modules/leanback and YTTV/application,
                                                                                YTTVF/net/browserchannel/, YTTVF/youtube/,
                                                                                google3/video/youtube/src/python/.
                                                                                See also for example source code located in subdirectories
                                                                                google3/video/youtube/src/web/javascript/library/tv/,
                                                                                google3/video/youtube/src/web/javascript/library/www/,
                                                                                google3/java/com/google/net/browserchannel/,
                                                                                google3/javascript/closure/net/

                                                                                See also e.g.: YTTV/modules/leanback;
                                                                                YTTV/application
                                                                                To the extent it is argued that these references do not disclose this
                                                                                claim element, it would have at least been obvious to combine
                                                                                these references with the references cited in Riders I-J. Further
                                                                                discussion of the obviousness of this claim element is provided in
                                                                                Google’s Invalidity Contentions Cover Pleading.
 [1f]           detecting an indication that playback responsibility for the    The YT Remote System discloses detecting an indication that
                remote playback queue has been successfully transferred from    playback responsibility for the remote playback queue has been
                the computing device to the at least one given playback         successfully transferred from the computing device to the at least
                device; and                                                     one given playback device.
                                                                                See e.g. [1]:



          5
              Throughout, “YTTV” refers to YTTVLeanback12022011/google3/flash/as3/com/google/youtube/.
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                                                                              See e.g. [8] at 5:29-41:

                                                                              In the example shown in FIG. 1, remote control 14 includes a user
                                                                              interface 26 that may be used to present information to a user. For
                                                                              example, user interface 26 may display controls 30 and information
                                                                              34 associated with content being played on controlled device 18.
                                                                              Controls 30 may depend on the capability of remote control 14 or
                                                                              controlled device 18, and include, for example, fast forward,
                                                                              reverse, skip ahead or back, play, stop, move to new content, etc.
                                                                              The type and quantity of information 34 may also depend on the
                                                                              capability of remote control 14 and controlled device 18, and
                                                                              include, for example, playback information Such as time remaining
                                                                              of content, playlist information, content rating information, etc.).
                                                                              See [8] e.g. at 5:42-63:
                                                                              Controlled device 18 may include a variety of network enabled
                                                                              devices, such as a network enabled television, set top box, personal
                                                                              video recorder, or other device capable of being network-connected
                                                                              and controlled remotely. In an example, controlled device 18 is an
                                                                              Internet-connected television that is configured to receive signals
                                                                              from and transmit signals to network 14. For example, controlled
                                                                              device 18 may be configured to initiate contact with servers 24. For
                                                                              example, controlled device 18 may notify servers 24 that controlled
                                                                              device 18 is connected to network 22. Controlled device 18 may
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                                                                              notify servers 24, for example, automatically upon being powered
                                                                              on. In another example, a user may log in to a user account
                                                                              maintained by the servers 24 using controlled device 18, thereby
                                                                              notifying servers 24 that controlled device 18 is connected to
                                                                              network 22. Controlled device 18 can also be configured to
                                                                              transmit a message to servers 24 of network 22 that identifies
                                                                              controlled device 18, which can be used by servers 24 to pair
                                                                              controlled device 18 with remote control 14. The message may also
                                                                              contain notification or content data for updating a user interface of
                                                                              remote control (e.g., indicating completion of a task, such as
                                                                              completing playback of content).
                                                                              See e.g. [9]:




                                                                              See for example source code for the Android application before
                                                                              12.30.2011, including for example source code located at
                                                                              YTR/src/com/google/android/ytremote/, and YTR/res/. See also for
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                                                                                  example source code located in subdirectories YTR/res/values and
                                                                                  YTR/src/com/google/android/ytremote, and YTTVF/youtube/,
                                                                                  YTTVF/net/browserchannel/.
                                                                                  See also for example source code located in subdirectories
                                                                                  google3/video/youtube/src/web/javascript/library/tv/.
                                                                                  See also e.g.: YTR/res/values;
                                                                                  YTR/src/com/google/android/ytremote.
                                                                                  To the extent it is argued that these references do not disclose this
                                                                                  claim element, it would have at least been obvious to combine
                                                                                  these references with the references cited in Riders I-J. Further
                                                                                  discussion of the obviousness of this claim element is provided in
                                                                                  Google’s Invalidity Contentions Cover Pleading.
 [1g]           after detecting the indication, transitioning from i) the first   The YT Remote System discloses after detecting the indication,
                mode in which the computing device is configured for              transitioning from i) the first mode in which the computing device
                playback of the remote playback queue to ii) a second mode in     is configured for playback of the remote playback queue to ii) a
                which the computing device is configured to control the at        second mode in which the computing device is configured to
                least one given playback device's playback of the remote          control the at least one given playback device's playback of the
                playback queue and the computing device is no longer              remote playback queue and the computing device is no longer
                configured for playback of the remote playback queue.             configured for playback of the remote playback queue.

                                                                                  See e.g. [4] the user’s phone (the control device) allows the user to
                                                                                  press pause or play on the phone and the leanback screen in turns
                                                                                  pauses or plays the video:




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                                                                              See e.g. [5]




                                                                              See e.g. [8] at 5:29-41:
                                                                              In the example shown in FIG. 1, remote control 14 includes a user
                                                                              interface 26 that may be used to present information to a user. For
                                                                              example, user interface 26 may display controls 30 and information
                                                                              34 associated with content being played on controlled device 18.
                                                                              Controls 30 may depend on the capability of remote control 14 or
                                                                              controlled device 18, and include, for example, fast forward,
                                                                              reverse, skip ahead or back, play, stop, move to new content, etc.
                                                                              The type and quantity of information 34 may also depend on the
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                                                                              capability of remote control 14 and controlled device 18, and
                                                                              include, for example, playback information Such as time remaining
                                                                              of content, playlist information, content rating information, etc.).
                                                                              See e.g. [8] at 18:55-19:22:
                                                                              FIG. 9 is a flowchart illustrating an example operation of a
                                                                              controlled device communicating with a network server, in
                                                                              accordance with one aspect of the present disclosure. For purposes
                                                                              of illustration only, the method of FIG. 9 is described with respect
                                                                              to networked environment 10 of FIG. 1, though various other
                                                                              systems and/or devices may be utilized to implement or perform
                                                                              the method shown in FIG. 9. In some examples, server 24 receives
                                                                              a message from controlled device 18 having a controlled device
                                                                              identifier and content information (250). For example, the message
                                                                              from controlled device 18 may contain an SID issued by servers 24
                                                                              that identifies controlled device 18 as being part of a session. In
                                                                              addition, the message may contain content information intended to
                                                                              notify a user of an event regarding controlled device 18, or to
                                                                              prompt a user of remote control 14 to take an action (e.g.,
                                                                              notification that playback has stopped, notification that playback of
                                                                              new content has begun, and the like). The content information may
                                                                              be used, for example, to update a user interface of remote control
                                                                              14. After receiving the message from controlled device 18, server
                                                                              24 retrieves a remote control identifier that identifies one or more
                                                                              remote controls 14 intended to receive the content information
                                                                              (224). For example, server 24 may query a database of stored
                                                                              identification numbers to deter mine which remote control 14 is
                                                                              associated with the session that includes the remote control
                                                                              identifier. Server 24 then transmits a message to the indeed
                                                                              recipients (one or more remote controls 14) of the content
                                                                              information (258). In Some examples, server 24 forwards the
                                                                              content information from the first message directly to one or more
                                                                              remote controls 14. In other examples, server 24 may process
                                                                              and/or repackage the content information of the message from
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                                                                              controlled device 18 into a new message, which can be sent to the
                                                                              intended recipients of the content information.
                                                                              See e.g. [9]:




                                                                              See e.g. [10]:
                                                                              “The system even works when the user logs into multiple Leanback
                                                                              browsers; remote control operations are seamlessly sent to all
                                                                              browsers.”
                                                                              See e.g. [11]




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                                                                                    See for example Google source code referenced in elements [1pre]-
                                                                                    [1f] above. See also for example source code located in
                                                                                    subdirectories YTR/src/com/google/android/ytremote, and
                                                                                    google3/video/youtube/src/web/javascript/library/tv/,
                                                                                    google3/java/com/google/net/browserchannel/,
                                                                                    google3/javascript/closure/net/
                                                                                    See also e.g.: YTR/src/com/google/android/ytremote/adapter;
                                                                                    YTR/src/com/google/android/ytremote;
                                                                                    YTR/src/com/google/android/ytremote/backend/browserchannel;
                                                                                    YTR/src/com/google/android/ytremote/backend
                                                                                    To the extent it is argued that these references do not disclose this
                                                                                    claim element, it would have at least been obvious to combine
                                                                                    these references with the references cited in Riders I-J. Further
                                                                                    discussion of the obviousness of this claim element is provided in
                                                                                    Google’s Invalidity Contentions Cover Pleading.


 [2]            The computing device of claim 1, wherein the instruction            The disclosures in independent claim [1] are hereby incorporated
                comprises an instruction for the cloud-based computing              by reference. In addition, YT Remote System includes the
                system associated with the media service to provide the data        instruction comprising an instruction for the cloud-based
                identifying the next one or more media items to the given           computing system associated with the media service to provide the
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                playback device for use in retrieving the at least one media        data identifying the next one or more media items to the given
                item from the cloud-based computing system associated with          playback device for use in retrieving the at least one media item
                the cloud-based media service.                                      from the cloud-based computing system associated with the cloud-
                                                                                    based media service.
                                                                                    See e.g. [7] Remote to Server, Screen to Server:




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                                                                              See e.g. [8] at 17:21-43:
                                                                              In some examples, server 24 receives a message from remote
                                                                              control 14 having a remote control identifier and control
                                                                              information (220). For example, the message from remote control
                                                                              14 may contain an SID issued by servers 24 that identifies remote
                                                                              control 14 as being part of a session. In addition, the message may
                                                                              contain control information intended to alter the operation of one or
                                                                              more controlled devices 18 (e.g., stop playback, begin next
                                                                              payback item, etc.). After receiving the message from remote
                                                                              control 14, server 24 retrieves a controlled device identifier that
                                                                              identifies one or more controlled devices 18 intended to receive the
                                                                              control information (224). For example, server 24 may query a
                                                                              database of stored identification numbers to determine which
                                                                              controlled device is associated with the session that includes the

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                                                                                   remote control identifier. Server 24 then transmits a message to the
                                                                                   intended recipients (one or more controlled devices 18) of the
                                                                                   control information (228). In some examples, server 24 forward the
                                                                                   control information from the first message directly to one or more
                                                                                   controlled devices 18. In other examples, server 24 may process
                                                                                   and/or repackage the control information of the message from
                                                                                   remote control 14 into a new message, which can be sent to the
                                                                                   intended recipients of the control information.

                                                                                   See for example Google source code referenced in elements [1pre]-
                                                                                   [1g] above. See also for example source code located in
                                                                                   subdirectories YTR/src/com/google/android/ytremote/,
                                                                                   YTL/browserchannel, YTL/model and YTTV/modules/leanback.
                                                                                   YTTVF/youtube/, google3/video/youtube/src/python/,
                                                                                   YTTVF/net/browserchannel/, and
                                                                                   google3/video/youtube/src/web/javascript/library/tv/,
                                                                                   google3/video/youtube/src/web/javascript/library/www/,
                                                                                   google3/java/com/google/net/browserchannel/,
                                                                                   google3/javascript/closure/net/

                                                                                   See also e.g.:
                                                                                   YTR/src/com/google/android/ytremote/backend/model;
                                                                                   YTR/src/com/google/android/ytremote; YTL/browserchannel;
                                                                                   YTL/model; YTTV/modules/leanback.
                                                                                   To the extent it is argued that these references do not disclose this
                                                                                   claim element, it would have at least been obvious to combine
                                                                                   these references with the references cited in Riders I-J. Further
                                                                                   discussion of the obviousness of this claim element is provided in
                                                                                   Google’s Invalidity Contentions Cover Pleading.


 [4a]           The computing device of claim 1, wherein the representation        The disclosures in independent claim [1] are hereby incorporated
                of the one or more playback devices comprises at least one         by reference. In addition, YT Remote System includes the
                selectable indicator for a group of playback devices that          representation of the one or more playback devices comprises at
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                includes the given playback device and one or more other          least one selectable indicator for a group of playback devices that
                playback devices that are to be configured for synchronous        includes the given playback device and one or more other playback
                playback of the remote playback queue, and                        devices that are to be configured for synchronous playback of the
                                                                                  remote playback queue.
                                                                                  See e.g. [4]:




                                                                                  See e.g. [8] at 17:44-48:
                                                                                  Server 24 may, in some examples, initialize a group session upon
                                                                                  receiving the message from remote control 14. For example, server
                                                                                  24 may maintain a session that includes the identifiers for all of the
                                                                                  components sending and receiving messages (e.g., remote
                                                                                  control(s) 14 and controlled device(s) 18).
                                                                                  See e.g. [9]:




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                                                                              See e.g. [10]:
                                                                              “The system even works when the user logs into multiple Leanback
                                                                              browsers; remote control operations are seamlessly sent to all
                                                                              browsers.”


                                                                              See e.g. [11]:




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                                                                                   See for example Google source code referenced in elements [1pre]-
                                                                                   [1f] above. See also for example source code located in
                                                                                   subdirectories YTR/src/com/google/android/ytremote/,
                                                                                   YTL/browserchannel and YTL/model and
                                                                                   google3/video/youtube/src/web/javascript/library/www/remote/
                                                                                   See also e.g.: YTR/src/com/google/android/ytremote/adapter;
                                                                                   YTR/src/com/google/android/ytremote; YTL/browserchannel.;
                                                                                   YTL/model
                                                                                   To the extent it is argued that these references do not disclose this
                                                                                   claim element, it would have at least been obvious to combine
                                                                                   these references with the references cited in Riders J-K. Further
                                                                                   discussion of the obviousness of this claim element is provided in
                                                                                   Google’s Invalidity Contentions Cover Pleading.
 [4b]           wherein the user input indicating the selection of at least one    See element [4a] above.
                given playback device from the one or more playback devices
                comprises user input indicating a selection of the group of        See also for example source code located in subdirectories
                playback devices.                                                  YTR/src/com/google/android/ytremote/,
                                                                                   YTR/src/com/google/android/apps/ytlounge/res/,
                                                                                   YTR/src/com/google/android/youtube/ui, and
                                                                                   YTR/src/com/google/android/ytremote/backend
                                                                                   See also e.g.:

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                                                                                      YTR/src/com/google/android/ytremote/adapter;
                                                                                      YTR/src/com/google/android/ytremote;
                                                                                      YTR/src/com/google/android/apps/ytlounge/res/drawable-hdpi;
                                                                                      YTR/src/com/google/android/apps/ytlounge/res/drawable-mdpi;
                                                                                      YTR/src/com/google/android/apps/ytlounge/res/drawable;
                                                                                      YTR/src/com/google/android/youtube/ui;
                                                                                      YTR/src/com/google/android/ytremote/backend/browserchannel;
                                                                                      YTR/src/com/google/android/ytremote/backend.


 [9]            The computing device of claim 8, wherein the transport                The disclosures in the independent claim are hereby incorporated
                control operation comprises one of a play operation, a pause          by reference. In addition, YT Remote System discloses the
                operation, a skip forward operation, or a skip back operation.        transport control operation comprises one of a play operation, a
                                                                                      pause operation, a skip forward operation, or a skip back operation.
                                                                                      See e.g. claim element [1.g] above.


 [11]           The computing device of claim 1, wherein displaying the               The disclosures in independent claim [1] are hereby incorporated
                representation of the one or more playback devices comprises:         by reference. In addition, YT Remote System includes displaying
                displaying the representation of the one or more playback             the representation of the one or more playback devices comprises:
                devices in response to receiving a selection of a displayed icon      displaying the representation of the one or more playback devices
                indicating that playback responsibility for the remote playback       in response to receiving a selection of a displayed icon indicating
                queue can be transferred.                                             that playback responsibility for the remote playback queue can be
                                                                                      transferred.
                                                                                      See e.g. [4]:




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                                                                              See e.g. [8] at 4:4-20:
                                                                              According to some examples, the network service may assign each
                                                                              remote control and each controlled device a unique identifier.
                                                                              When pairing devices, the network service may utilize the unique
                                                                              identifier associated with each device to route communication
                                                                              signals properly. For example, the network service may initiate a
                                                                              session that includes each unique identifier of remote controls and
                                                                              controlled devices that are authorized to communicate with each
                                                                              other. The network service can then route messages to members of
                                                                              the session. Any number of remote controls may be paired with a
                                                                              single controlled device and one remote control may be paired to
                                                                              any number of controlled devices. When pairing multiple remote
                                                                              controls and multiple controlled devices associated with a single
                                                                              user, the user may identify a Subset of the remote controls as paired
                                                                              to a subset of the controlled devices, and manage which remote
                                                                              controls control which controlled devices.
                                                                              See for example Google source code referenced in elements [1pre]-
                                                                              [1f] above.
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                                                                                   See also for example source code located in subdirectories
                                                                                   YTR/src/com/google/android/ytremote/, YTR/res/drawable-mdpi,
                                                                                   YTR/res/menu, and YTR/src/com/google/android/ytremote/factory,
                                                                                   and google3/video/youtube/src/web/javascript/library/tv/,
                                                                                   google3/video/youtube/src/web/javascript/library/www/.
                                                                                   See also e.g.: YTR/src/com/google/android/ytremote/adapter;
                                                                                   YTR/src/com/google/android/ytremote;
                                                                                   YTR/src/com/google/android/ytremote; YTR/res/drawable-mdpi;
                                                                                   YTR/res/menu; YTR/src/com/google/android/ytremote/factory;
                                                                                   YTR/src/com/google/android/ytremote.
                                                                                   To the extent it is argued that these references do not disclose this
                                                                                   claim element, it would have at least been obvious to combine
                                                                                   these references with the references cited in Rider J. Further
                                                                                   discussion of the obviousness of this claim element is provided in
                                                                                   Google’s Invalidity Contentions Cover Pleading.


 [12pre]        A non-transitory computer-readable medium having stored            The disclosures in independent claim [1] are hereby incorporated
                thereon program instructions that, when executed by at least       by reference. See e.g. claim element [1pre] above.
                one processor, cause a computing device to perform functions
                comprising:
 [12a]          operating in a first mode in which the computing device is         The disclosures in independent claim [1] are hereby incorporated
                configured for playback of a remote playback queue provided        by reference. See e.g. claim element [1a] above.
                by a cloud-based computing system associated with a cloud-
                based media service;
 [12b]          while operating in the first mode, displaying a representation     The disclosures in independent claim [1] are hereby incorporated
                of one or more playback devices in a media playback system         by reference. See e.g. claim element [1b] above.
                that are each i) communicatively coupled to the computing
                device over a data network and ii) available to accept playback
                responsibility for the remote playback queue;
 [12c]          while displaying the representation of the one or more             The disclosures in independent claim [1] are hereby incorporated
                playback devices, receiving user input indicating a selection of   by reference. See e.g. claim element [1c] above.
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                at least one given playback device from the one or more
                playback devices;
 [12d]          based on receiving the user input, transmitting an instruction     The disclosures in independent claim [1] are hereby incorporated
                for the at least one given playback device to take over            by reference. See e.g. claim element [1d] and [1e] above.
                responsibility for playback of the remote playback queue from
                the computing device, wherein the instruction configures the at
                least one given playback device to (i) communicate with the
                cloud-based computing system in order to obtain data
                identifying a next one or more media items that are in the
                remote playback queue, (ii) use the obtained data to retrieve at
                least one media item in the remote playback queue from the
                cloud-based media service; and (iii) play back the retrieved at
                least one media item;
 [12e]          detecting an indication that playback responsibility for the       The disclosures in independent claim [1] are hereby incorporated
                remote playback queue has been successfully transferred from       by reference. See e.g. claim element [1f] above.
                the computing device to the at least one given playback
                device; and
 [12f]          after detecting the indication, transitioning from i) the first    The disclosures in independent claim [1] are hereby incorporated
                mode in which the computing device is configured for               by reference. See e.g. claim element [1g] above.
                playback of the remote playback queue to ii) a second mode in
                which the computing device is configured to control the at
                least one given playback device's playback of the remote
                playback queue and the computing device is no longer
                configured for playback of the remote playback queue.


 [13]           The non-transitory computer-readable medium of claim 12,           See claim [2] above.
                wherein the instruction comprises an instruction for the cloud-
                based computing system associated with the cloud-based
                media service to provide the data identifying the next one or
                more media items to the given playback device for use in
                obtaining the at least one media item from the cloud-based
                computing system associated with the cloud-based media
                service.

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 [16]           The computing device of claim 1, further comprising program       YT Remote System discloses the computing device of claim 1
                instructions stored on the non-transitory computer-readable       further comprising program instructions stored on the non-
                medium that, when executed by the at least one processor,         transitory computer-readable medium that, when executed by the at
                cause the computing device to perform functions comprising:       least one processor, cause the computing device to perform
                                                                                  functions comprising before displaying the representation of the
                before displaying the representation of the one or more           one or more playback devices, receiving an indication that the one
                playback devices, receiving an indication that the one or more    or more playback devices in the media playback system are
                playback devices in the media playback system are available       available to accept playback responsibility for the remote playback
                to accept playback responsibility for the remote playback         queue. See e.g. claim element [1b] above.
                queue.




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